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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                WESTERN DIVISION

In re: TINA JOHNSON,                                  )   Judge Thomas M. Lynch
                                                      )
                                      Debtor,         )   Case No. 17-82868
                                                      )
                                                      )   Chapter 7
                                                      )
                                                      )
                                                      )
PATRICK S LAYNG, U.S. Trustee,                        )   Adversary No. 18-96018
                                                      )
                                     Plaintiff,       )
                                                      )
v.                                                    )
                                                      )
MICHAEL C. BURR, JAAFAR LAW                           )
GROUP, PLLC, FAIRMAX LAW,                             )
MICHAEL JAAFAR, DAVID IENNA,                          )
CHRISTINA BANYON, & DAVID                             )
CARTER,                                               )
                                                      )
                                  Defendants.         )

                                  NOTICE OF MOTION

        PLEASE TAKE NOTICE that on September 12, 2018, at 10:00 a.m., or as soon
thereafter as counsel may be heard, I shall appear telephonically before the Honorable Thomas
M. Lynch or any judge sitting in his stead in Room 3100 of the U.S. Bankruptcy Court for the
Northern District of Illinois, Western Division, 327 Church St., Rockford, Illinois 61101, and
shall present the Unopposed Motion to Withdraw as Counsel of Record, filed by Joshua B. Kons.

                                            Respectfully submitted,

                                            JOSHUA KONS

                                            By: /s Joshua Kons
                                            Joshua B. Kons
                                            LAW OFFICES OF JOSHUA B. KONS, LLC
                                            939 W. North Ave.
                                            Ste. 750
                                            Chicago, IL 60642
                                            (312) 757-2272
                                            Email: joshuakons@konslaw.com



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                     IN THE UNITED STATES BANKRUPTCY COURT
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In re: TINA JOHNSON,                                    )   Judge Thomas M. Lynch
                                                        )
                                        Debtor,         )   Case No. 17-82868
                                                        )
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                                                        )
                                                        )
                                                        )
PATRICK S LAYNG, U.S. Trustee,                          )   Adversary No. 18-96018
                                                        )
                                       Plaintiff,       )
                                                        )
v.                                                      )
                                                        )
MICHAEL C. BURR, JAAFAR LAW                             )
GROUP, PLLC, FAIRMAX LAW,                               )
MICHAEL JAAFAR, DAVID IENNA,                            )
CHRISTINA BANYON, & DAVID                               )
CARTER,                                                 )
                                                        )
                                    Defendants.         )

                  MOTION TO WITHDRAW AS COUNSEL OF RECORD

         Attorney, Joshua Kons (“Kons”), respectfully moves this Court to enter an order allowing

him to withdraw as counsel of record on behalf of Adversary Defendants, Michael C. Burr,

Jaafar Law Group, PLLC, Fairmax Law, Michael Jaafar and David Ienna (“Defendants”). In

support of this motion, Kons respectfully states as follows:

         1.     Defendants have hired new counsel, Eric D. Kaplan and Stacie E. Barhorst, both

of whom have filed their appearances on behalf of Defendants in this Adversary Proceeding. See

Docket at nos. 50 and 51.

         2.     Defendants no longer wish Kons to represent them.

         3.     Given that Defendants have new counsel of record, this Court should allow Kons




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to withdraw as Defendants’ counsel of record.

       For all the foregoing reasons, this Court should enter an Order allowing Kons to

withdraw as counsel of record for Defendants.

                                           Respectfully Submitted,

                                           JOSHUA KONS

                                           By: /s Joshua Kons
                                           Joshua B. Kons
                                           LAW OFFICES OF JOSHUA B. KONS, LLC
                                           939 W. North Ave.
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                                CERTIFICATE OF SERVICE

The undersigned counsel hereby certifies that this document was filed electronically this 31st day
of August, 2018. Notice of this filing will be sent to counsel of record at the email address
registered with the Court by operation of the Court’s electronic filing system. Parties may access
this filing through the Court’s system.

                                                    s/ Joshua Kons




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